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                         Exhibit E
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(Transcription1 of audio file: “Clip – Minutes 530 – 634 –
CSN171856533_ID31401076_PH17316105090_032220”)

00:00 – 00:01                      “Well that’s crazy.
Jeffrey Young
(Defendant’s Father)

00:02 – 00:12                      “Yeah. That’s why they’re callin’ up all them, I mean this way, you
Jeffrey Young, Jr.                 know, makes no sense that, you know, have, you know, twelve hundred
(Defendant)                        doctors locked up across the United States when they’re callin’ out, uh,
                                   for retired doctors and nurses, you know, everywhere…”

00:13 – 00:21                      “Um, you know, trying to get them to, you know, uh, come back in and
Jeffrey Young, Jr.                 serve, uh, even though they’re retired… um, so.”
(Defendant)

00:23 – 00:24                      “Yeah, and well, –“
Jeffrey Young
(Defendant’s Father)

00:23 – 00:24                      “You aren’t gettin’, uh, go ahead –”
Jeffrey Young, Jr.
(Defendant)

00:24 – 00:27                      “– And the old people, the ones that get it worse.”
Jeffrey Young
(Defendant’s Father)

00:27 – 00:40                      “– Yeah, you know they called eight thousand up. Um, they have some
Jeffrey Young, Jr.                 sort of medical reserve, that if you’re, uh, retired, or… you know, that
(Defendant)                        kind of thing, but, you know, they’ve got like eight hundred – eight
                                   thousand providers they’re trying to rustle up in New York. You know…”

00:42 – 00:43                      “But you gotta think of –“
Jeffrey Young, Jr.
(Defendant)

00:43 – 00:43                      “You wouldn’t –.”
Jeffrey Young
(Defendant’s Father)




1
 This is an unofficial transcription, made for the Court’s convenience with best efforts to understand the
conversation by counsel for the Government. The original clip can be made available on request if there is any
dispute about its contents.
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00:43 – 00:45          “– The people in here, so, makes zero sense.”
Jeffrey Young, Jr.
(Defendant)

00:46 – 00:48          “Yeah, well you wouldn’t need to be treatin’ it anyway.”
Jeffrey Young
(Defendant’s Father)

00:48 – 00:56          “Well, but, I mean, at least I’d have PPE, and I’d much rather die, you
Jeffrey Young, Jr.     know fightin’ the front lines, like you know being the eighteen
(Defendant)            year old kid, World War Two, beggin’ to go to war.”

00:58 – 00:59          “Right, right.”
Jeffrey Young
(Defendant’s Father)

00:59 – 01:04          “You know, much rather die, you know, out there fightin’
Jeffrey Young, Jr.     it, than, you know, dyin’ locked in with it.”
(Defendant)

01:05 – 01:06          “That’s true, that’s true.”
Jeffrey Young
(Defendant’s Father)

01:06 – 01:07          “Yep.”
Jeffrey Young, Jr.
(Defendant)
